Case 9:12-cr-00036-RC-ZJH          Document 184          Filed 12/05/12    Page 1 of 2 PageID #:
                                            463




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §      CASE NO. 9:12-CR-36(5)
                                                 §
MARK DWAINE HELTON                               §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge [Doc. #163]. The magistrate judge recommended that

the Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

recommended that the Court finally adjudge the defendant as guilty on Count 33 of the charging

Indictment filed against the defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea [Doc. #163] of the United States

Magistrate Judge are ADOPTED. The Court accepts the defendant’s plea, but defers acceptance

of the plea agreement until after review of the presentence report. The Court further ORDERS the

defendant’s attorney to read and discuss the presentence report with the defendant, and file any

necessary objections to the report before the date of the sentencing hearing.




                                               -1-
Case 9:12-cr-00036-RC-ZJH          Document 184        Filed 12/05/12      Page 2 of 2 PageID #:
                                            464



       It is further ORDERED that, in accordance with the defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the defendant, Mark Dwaine Helton, is adjudged

as guilty on Count 33 of the Indictment charging violations of Title 21, United States Code, Section

841(c)(1) and (c)(2).

      So ORDERED and SIGNED on December _____,
                                        5      2012.




                                             __________________________________________
                                             Ron Clark
                                             United States District Judge




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